       Case 4:04-cv-02688-JEJ Document 265-2 Filed 10/18/05 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TAMMY KITZMILLER; BRYAN AND                   :
CHRISTY REHM; DEBORAH FENIMORE                :
AND JOEL LIEB; STEVEN STOUGH;                 :
BETH EVELAND; CYNTHIA SNEATH;                 :
JULIE SMITH; AND ARALENE                      :
("BARRIE") D. AND FREDERICK B.                :
CALLAHAN,                                     :
                                              :      CIVIL ACTION
                               Plaintiffs     :
                                              :
                     vs.                      :      No. 4:04-cv-2688
                                              :
DOVER AREA SCHOOL DISTRICT;                   :      (JUDGE JONES)
DOVER AREA SCHOOL DISTRICT                    :
BOARD OF DIRECTORS,                           :
                                              :      (Filed Electronically)
                             Defendants       :


                                    ORDER
            And now this ___ day of October, 2005, plaintiffs’ Motion to Strike

“Brief of Amici Curiae Biologists and Other Scientists in Support of Defendants”

and “Brief of Amicus Curiae, The Discovery Institute” is hereby GRANTED.

                                            __________________________________
                                                                              J.
